     Case 6:18-cv-00438-JA Document 56 Filed 02/04/19 Page 1 of 1 PageID 2284




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


In Re: Jodell M. Altier

JODELL M. ALTIER,

                     Appellant,

v.                                                          Case No: 6:18-cv-438-Orl-28

GOSHEN MORTGAGE, LLC,

                     Appellee.

 UNITED STATES       John Antoon II                 COUNSEL FOR   Andrea Roebuck
 DISTRICT JUDGE:                                    APPELLANT:    Stafford Shealy
 DEPUTY CLERK:       Anita Chenevert

 COURT REPORTER      Heather Jewett                 COUNSEL FOR   Daniel A. Velasquez
                     Heatherjewett.focr@gmail.com   APPELLEE:     Justin Luna
 DATE/TIME:          February 4, 2019 @ 2 pm                      (appeared by phone)

 TOTAL TIME:         12 minutes


                   CLERK’S MINUTES – STATUS CONFERENCE

2:00 p.m.      Jodell M. Altier (duly sworn) questioned by Court regarding counsel
               withdrawing and preparation of her brief.

               Court will grant counsel’s oral renewed motions to withdraw from the case.

2:12 p.m.      Court adjourned.
